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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JAMES H. BRADY,

                                        Plaintiff,                     19 Civ. 10142 (PAE)
                        -v-
                                                                              ORDER
 IGS REALTY CO. L.P. and PHILIPPE IFRAH,

                                        Defendants.


PAUL A. ENGELMAYER, District Judge:

       On November 5, 2020, the Court received a letter from pro se plaintiff James H. Brady

regarding his inability to access the electronic version of his complaint and accompanying

exhibits. See Dkt. 68. The Court understands that Brady’s complaint was limited to “case

participant” view only, because Exhibit 2 to the complaint contains an image of a check showing

payment of $1.7 million, with the account number unredacted in violation of Federal Rule of

Civil Procedure 5.2(a)(4). That rule serves the important interests of protecting individuals’

privacy and financial security. However, as Brady is proceeding pro se and therefore lacks ECF

credentials that are available to attorneys, it appears that he is unable to view the document

despite clearly being a case participant.

       Rule 5.2 contains an exception to the rule against disclosure of financial information in

court filings where the party submitting such information files only his or her own information.

See Fed. R. Civ. P. 5.2(h). Although the facts alleged in the complaint suggest that the account

number listed on the image in Exhibit 2 belongs to Brady, it is unclear from the image itself

whether that is so. The Court will not order the complaint and its exhibits to be made available

to the general public absent confirmation that the account number is, in fact, Brady’s.
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       Accordingly, Brady is directed to file forthwith a letter attesting whether the account

information in Exhibit 2 belongs or belonged solely to him or a business entity that he owns or

owned, and whether he waives the protection of Rule 5.2(a) as it relates to the financial

information contained therein.

       If the account information is not his or he does not waive the protections of Rule 5.2(a),

defense counsel is directed, forthwith after receiving Brady’s response to this order, to file on the

public docket and serve on Brady a copy of the filings at docket 1, with the account information

in Exhibit 2 appropriately redacted under Rule 5.2(a).

       If neither of the above options is practicable, Brady must request and pay for, from this

Court or the U.S. Court of Appeals for the Second Circuit, a copy of the filing.

       The Clerk of Court is respectfully directed to mail this order to Brady.

       SO ORDERED.


                                                           PaJA.�
                                                      __________________________________
                                                            PAUL A. ENGELMAYER
                                                            United States District Judge
Dated: November 5, 2020
       New York, New York




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